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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                 )
                                          )
               v.                         ) Case No. 2:23-cr-146
                                          ) Judge J. Nicholas Ranjan
 BRIAN DIPIPPA;                           )
 KRYSTAL MARTINEZ-DIPIPPA,                )
                                          )
                     Defendants.
                            FINAL PRETRIAL ORDER

      This 30th day of April, 2024, the Court hereby orders that it has set this matter

down for a jury trial, and schedules the following pretrial deadlines. Because the

government bears the burden at trial, many of the pretrial obligations apply only to

the government (though the parties may confer and file joint submissions).

      1.      Speedy Trial Clock. It is ordered that the time period from April 3,

2024 to September 9, 2024 is deemed to be excluded under the Speedy Trial Act, 18

U.S.C. § 3161, et seq. Specifically, the Court finds that the ends of justice served by

granting this continuance outweigh the best interest of the public and the defendants

to a speedy trial, 18 U.S.C. § 3161(h)(7)(A), since the Court finds that the additional

period is necessary to enable counsel for the government and defendants to

adequately prepare for trial, including the review and production of evidence

consistent with the Court’s omnibus order (ECF 96), taking into account the exercise

of due diligence, 18 U.S.C. § 3161(h)(7)(B)(iv).

      2.      Discovery. If not already produced, all Rule 16 discovery and

specifically requested expert disclosures must be accomplished by May 31, 2024. Any

potential impeachment and Rule 404(b) and Rule 609 material of Defendants must

be produced not later than August 26, 2024, consistent with the Court’s omnibus

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order (ECF 96). To the extent not already covered by Rule 16, and consistent with

the Court’s omnibus order, the government shall preserve all investigatory rough

notes. The Court expects Jencks Act material to be produced as early as possible,

and no later than August 26, 2024, consistent with the omnibus order. The parties

are reminded that their discovery obligations and duties to supplement remain

ongoing.

      3.      Expert Reports. Consistent with the parties’ status report (ECF 102),

the parties shall exchange any expert reports by July 1, 2024. Any rebuttal expert

reports shall be exchanged by August 1, 2024.

      4.      Government’s Trial Exhibits/Exhibit List. The government must

produce to Defendants the exhibits it intends to use at trial by August 9, 2024.

Wiretap exhibits must have accompanying written transcripts for purposes of pretrial

review. PDF copies of the trial exhibits must be emailed to the courtroom deputy by

August 9, 2024 (there is no need to submit hard-copy exhibits). The government’s

exhibit list must be filed by that date, with the columns completed for the exhibit

number (G-1, G-2), and description of the exhibit. The exhibit list form is attached

hereto.

      5.      Government’s Witness List. The government’s witness list must be

filed under seal by August 9, 2024. The witness list must include a brief summary

of the proffered testimony. Unless the government has certain concerns regarding

the safety of witnesses, the government must provide Defendants the witness list at

this time.



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      6.      Government’s Proposed Substantive Jury Instructions. By

August 9, 2024, the government must file its proposed substantive jury instructions

as to offenses charged and their elements, and any matters unique to this case. The

instructions must include citation to applicable authority. There is no need to file

instructions on procedural matters, such as the burden of proof, nature of the

evidence, and the like.

      7.      Government’s Proposed Verdict Slip. The government must file its

proposed verdict slip by August 9, 2024.

      8.      Objections and Motions In Limine.             Any objections to the

government’s filings and any motions in limine, including any Daubert motions, are

due August 16, 2024. Responses are due August 23, 2024. For objections and/or

modifications to the government’s proposed jury instructions, they must be filed as a

redline to the government’s proposed jury instructions and must cite any applicable

authority. For evidentiary objections/responses to trial exhibits, the parties must

confer and complete and file the attached exhibit list form by August 23, 2024.

      9.      Daubert Hearing.     If any party requests a Daubert hearing, the

hearing on Daubert motions shall be held at the final pretrial conference, on

September 4, 2024.

      10.     Proposed Voir Dire. The parties must meet and confer regarding any

individual voir dire questions and shall separately email the courtroom deputy no

more than 10 proposed questions per side by no later than August 23, 2024. Each

question should indicate whether the opposing party objects to the question, and the



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basis for the objection.     Each question must be phrased to elicit a “yes”/

no” response. The Court will review the proposed questions, and determine which, if

any, will be asked in addition to the questions covered under the Local Rules.

      11.     Final Pretrial Conference. The final pretrial conference shall be on

September 4, 2024, at 2:00 p.m. in Courtroom 6C. The Court expects Defendants to

be present.

      12.     Jury Trial. Jury selection and trial shall commence on September 9,

2024, at 9:00 a.m. in Courtroom 6C. If the parties consent to a non-jury trial, they

must so notify the Court at least one month in advance of trial so that prospective

jurors can be deferred and the above deadlines can be modified.

                                       BY THE COURT:


                                       /s/ J. Nicholas Ranjan
                                       United States District Judge




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                           ATTACHMENT
                   GOVERNMENT EXHIBIT LIST


Exhibit  Exhibit     Defense Government               Court Ruling
  No.   Description Objection Response




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